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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
      Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
          Clerk                      CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov


                                                   Filed: December 30, 2020

   Mr. David John Debold
   Ms. Megan Brenneman Kiernan
   Gibson, Dunn & Crutcher

   Mr. David Ruben Esquivel
   Bass, Berry & Sims

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   Mr. Shon R. Hopwood
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   Hopwood & Singhal

   Ms. Danielle Dudding Irvine
   Bass, Berry & Sims

   Mr. John E. Kelly Jr.
   Bass, Berry & Sims

   Mr. Benjamin James Vernia
   Vernia Law Firm

                        Re: Case No. 18-6023/18-6101/18-6102, USA v. Mark Hazelwood
                            Originating Case No. : 3:16-cr-00020-1

   Dear Counsel:

      The Court issued the enclosed Corrected Order today in this case. If there are any questions,
   please feel free to contact me.

                                                   Sincerely yours,

                                                   s/Robin L. Johnson
                                                   Case Manager
                                                   Direct Dial No. 513-564-7039

   cc: Mr. John L. Medearis

   Enclosure

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                                        Case No. 18-6023/18-6101/18-6102

                                  UNITED STATES COURT OF APPEALS
                                       FOR THE SIXTH CIRCUIT

                                                   Corrected
                                                   ORDER

   UNITED STATES OF AMERICA

                   Plaintiff - Appellee

   v.

   MARK HAZELWOOD (18-6023)
   HEATHER JONES (18-6101)
   SCOTT WOMBOLD (18-6102)

                   Defendants - Appellants



   BEFORE: SUHRHEINRICH, DONALD*, and MURPHY, Circuit Judges;

        Upon consideration of the petition for rehearing filed by the appellee,

        It is ORDERED that the petition for rehearing be, and it hereby is, DENIED.



                                                        ENTERED BY ORDER OF THE COURT
                                                        Deborah S. Hunt, Clerk


   Issued: December 30, 2020
                                                        ___________________________________




   ____________________________
        *Judge Donald adheres to the dissent




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